       Case: 5:18-cv-01438-SL Doc #: 10 Filed: 08/31/18 1 of 1. PageID #: 47




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


AMANDA BENEDICT, on behalf of herself          )         CASE NO. 5:18-cv-1438
and others similarly situated,                 )
                                               )
                                               )
                      PLAINTIFF,               )         JUDGE SARA LIOI
                                               )
vs.                                            )
                                               )         ORDER OF DISMISSAL
W. W. GRAINGER, INC.,                          )
                                               )
                                               )
                     DEFENDANT.                )

       This matter comes before the Court upon plaintiff’s Notice of Dismissal without

prejudice. (Doc. No. 9.) Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff may dismiss an

action by filing a notice of dismissal before the opposing party serves either an answer or a

motion for summary judgment. Plaintiff in this case has filed such a notice, and no answer or

motion for summary judgment has been filed. Therefore, this case is closed.

       IT IS SO ORDERED.



Dated: August 31, 2018
                                             HONORABLE SARA LIOI
                                             UNITED STATES DISTRICT JUDGE
